Case 2:15-cr-20652-GCS-DRG ECF No. 1675-2 filed 09/09/20   PageID.23089   Page 1 of
                                      4




                                                           EXHIBIT            1
     Case 2:15-cr-20652-GCS-DRG ECF No. 1675-2 filed 09/09/20          PageID.23090   Page 2 of
                                           4



 1     Detroit [UI]
 2     Welcome to Hob city, man the streets been waiting,
 3     You know what time it is, it’s finally here.
 4     Where I’m from its all bad, niggas getting killed,
 5     It’s getting hard to find dope so niggas flipping pills (Scripts)
 6     Came home and Rome show me this is what he do,
 7     Selling lean by the pint nigga fuck a tube.
 8     I used to be sleeping in the spot like nigga fuck a crib,
 9     Now I got work up in the spot plus a couple cribs.
10     All white bus plus the watch cost a couple keys,
11     I ain’t telling lies bitch put that on my brother’s kids.
12     I’m from the Red Zone nigga where we quick to shoot (pow)
13     It’s all bad over here we ain’t got shit to lose
14     First Hob caught a body and he made the news (free Hob)
15     Then Bleek turned snitch he had to break the rules (bitch ass)
16     Everybody in my neighborhood claiming red,
17     If it ain’t purple in my cup then I’m drinking red.
18     7-6-2, nigga that’s the street code,
19     You got a couple bows dropping that’s a weak load.
20     I’m like a cat, every week I use my nine lives.
21     I asked Pills what it is he told me five times,
22     My nigga Tank on the build he’s doing five lives.
23     My nigga Cheech eating good we call him five guys.
24     Carjacking, armed robbery, kidnapping, and finally felony murder, all with gun
25     charges enhancements there, all 18 counts all guilty, 17 year old Ihab Maslamani


                                                   1
Case 2:15-cr-20652-GCS-DRG ECF No. 1675-2 filed 09/09/20   PageID.23091   Page 3 of
                                      4




                                                           EXHIBIT            1
     Case 2:15-cr-20652-GCS-DRG ECF No. 1675-2 filed 09/09/20        PageID.23092     Page 4 of
                                           4



 1     now a convicted felon on a long laundry list of counts. He did in fact not display
 2     much emotion in any of this process, any of this process.
 3     Yeah hooked up with Ice Wear and got a new buzz,
 4     All in the videos they like who blood (huh)
 5     On stage off mollys yeah I do drugs,
 6     But if my P.O. asks nigga I don’t do drugs.
 7     Bag life boy bitch yeah nigga trappin (what up doe)
 8     Hard Work Entertainment got a nigga rappin (free Smoke)
 9     Niggas think its all games till them pistols pop,
10     RIP to Little Drop but I ain’t finna drop.
11     My granny asking me to quit but I ain’t finna stop,
12     She don’t want to see me dead or back up in the box.
13     I was in the joint when my niggas made Gangland,
14     Came home and said fuck beef and changed the game plan.
15     Every since all I do is stand here, I say bands,
16     All black mag black tint, call it ray bans.
17     Everybody fucking up their bag trying to rain dance,
18     A 100 round drum in my hand I’m the rain man, bitch.
19     We talked to the victim’s mother as she left the courtroom.
20     We’re glad its over, it didn’t surprise us at all, he showed no emotion throughout
21     the trial, whatsoever.
22     I can’t imagine what they were going through in this, sitting here having to hear all
23     the testimony about just what a cold hearted terrible person that defendant is.
24     Welcome to Hob City.




                                                     2
